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UNITED STATES DISTRICT COURT (/é, \
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WESTERN DISTRICT OF TENNESSEE danish
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ORDER OF PRODUCTION
NO: 1:03»-10052-02-T
USA v_ imer PASCAL
A]) Prosequendurrl
FOR; RE-SENTENCING HEARING

TO: USM, Western District ofTN

Wal‘d€n, FCI MEMPHIS, FEDERAL CORRECTIONAL INSTITUTION
1101 JOHN A. `*DENIE ROAD, MEMPHIS, TN 38134

YOU ARE HEREBY COMMANDED to have the person of

DAVID PAscAL minute # 19215-076

’ 5

by you restrained of his/her liberty, as it is said, by Whatsoever names detained, together with the
day and cause of his being taken and detained, before the Honorable J ames D. Todd, U. S.
District Court Judge, for the Western District of Tennessee, at the room of said Court, in the City

of Jackson, Tennessee, at 8:30 a.m. on the 17th day of ALJSUSE , 20 05

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then and there to do, submit to, and receive Whatsoever the said Judge shall then and there
determine in that behalf; and have you then and there this Wn`t; further, to hold him in federal

custody until disposition of this case and to produce him for such other appearances as this court

may direct. ‘/:`, .
ENTERED THIs f 5/ DAY oF _W;V , 20 .
C)ZM/Wq 25. M

JAMES . ODD
UNITED TATES DISTRICT IUDGE

 

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UNITED `SETATDISTRICT COUR - WESTERN DTRCT 0 TESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 100 in
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109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

